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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

ARTHREX, INC.

      Plaintiff,

v.                                                  Case No. 2:22-cv-00748

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA. AND
FEDERAL INSURANCE COMPANY

      Defendants.
___________________________

      PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT
                  PURSUANT TO FED. R. CIV. P. 15

      Plaintiff Arthrex, Inc. (“Arthrex”), by and through its undersigned counsel

hereby files this Motion to Amend Complaint Pursuant to Fed. R. Civ. P. 15 in the

above-captioned lawsuit (“Motion”). The proposed First Amended Complaint is

attached hereto as Exhibit 1, along with its accompanying exhibits attached hereto as

Exhibits 2–15. The grounds for this Motion are explained more fully in the following

Memorandum of Legal Authority.

                   MEMORANDUM OF LEGAL AUTHORITY

I.    FACTUAL BACKGROUND

      This case is an insurance coverage action involving Defendant National Union

Insurance Company of Pittsburgh, Pa.’s (“National Union”) and Defendant Federal

Insurance Company’s (“Federal,” together with National Union, “Insurers”) wrongful
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denial of coverage to Arthrex related to an underlying government investigation

involving a qui tam lawsuit (“Qui Tam Action”). See generally ECF No. 1 (“Original

Complaint”).    Specifically, the Insurers issued directors’ and officers’ (“D&O”)

insurance policies to Arthrex covering, among other things, “a written demand for

monetary, non-monetary or injunctive relief” (collectively, “Policies”). Id. ¶¶ 2, 12–

16, 20–46. Despite this broad language, the Insurers nevertheless denied coverage to

Arthrex after it was served with two governmental subpoenas related to the

Department of Justice’s investigation of the Qui Tam Action. See id. ¶¶ 95–97, 124,

127.

       After nearly two years of unsuccessful negotiations with the Insurers, and left

self-insured for tens of millions of dollars, Arthrex invoked the Policies’ Dispute

Resolution Process provision, which requires the parties to submit any dispute to non-

binding mediation before the initiation of litigation. See id. ¶¶ 33, 136. This provision

prescribes a 60-day “cooling-off” period before the parties may commence litigation

should the mediation prove unsuccessful. See id. ¶ 35. The parties mediated, without

resolution, on February 8, 2022. See id. ¶¶ 137–38. The mediator declared an impasse

between the parties the same day. See id. ¶ 138.

       After the Policies’ mandated 60-day “cooling off” period, Arthrex filed this case

in the District of Delaware on April 9, 2022, alleging breach of contract and the

covenant of good faith and fair dealing (Delaware’s common law version of bad faith),

and seeking a declaratory judgment. See generally id. ECF No. 1. Less than a day later,

the Insurers filed a nearly identical lawsuit, also pending in this Court, captioned
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National Union Fire Insurance Company of Pittsburgh, Pa., et al. v. Arthrex, Inc., No. 2:22-

CV-00226 (M.D. Fla.). Thereafter, the Insurers moved to transfer this case from the

District of Delaware to this Court, which the District of Delaware granted on

November 8, 2022. See ECF Nos. 18–22, 24, 43–44. Based on this case’s pending

transfer to this Court, on November 17, 2022, Arthrex filed Civil Remedy Notices with

the Florida Department of Financial Services, notice given to the Insurers, as a

prerequisite to filing, in the alternative, a statutory bad faith claim against the Insurers

under Florida law. See Exs. 14-15.

       The District of Delaware transferred this case to this Court on November 28,

2022, which assigned this case to Judge Badalamenti on the same day. See id. ECF

Nos. 45–46. Thereafter, the parties filed a Uniform Case Management Report on

January 11, 2023, wherein the parties agreed, inter alia, that given the transfer of venue,

Arthrex would amend its Original Complaint to include allegations related to a claim

for statutory bad faith under Florida law:

       Arthrex’s complaint presently includes a claim for bad faith. Arthrex
       intends to amend that count to include allegations related to a claim for
       statutory bad faith under Florida law. The parties agree that Arthrex
       shall file such amended complaint within fourteen calendar days of
       receipt of the Insurers’ responses to Arthrex’s recent Insurer Civil
       Remedy Notices. However, Arthrex and the Insurers agree that any bad
       faith claim Arthrex is presently asserting or may assert in its forthcoming
       amended complaint shall be stayed until a final resolution of the policy
       interpretation and coverage issues. Such a stay will be without prejudice
       as to the parties’ arguments on choice of law for the bad faith claim
       specifically, and the Insurers agree that for the purposes of any statute of
       limitations, laches, the entire controversy doctrine, or other defense, the
       bad faith claim was filed timely. Within three business days of the
       forthcoming amended complaint, the parties shall file a stipulation and
       joint motion requesting that the Court formalize such a stay.
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ECF No. 59 at 5.

       The Insurers filed their responses to Arthrex’s Civil Remedy Notices on January

13, 2023. See Exs. 14–15. This Court held a preliminary pre-trial conference on

January 17, 2023, wherein the parties explained their agreed-upon plan for Arthrex to

amend its Original Complaint to include statutory bad faith allegations under Florida

law. See Transcript of Preliminary Pretrial Conference dated Jan. 17, 2023, attached

hereto as Exhibit 16, at 12:23–18:9. Referencing the Uniform Case Management

Report, the Insurers reiterated their consent for Arthrex to amend its Original

Complaint. See id. at 14:6–10 (National Union’s counsel stating: “We do have an

agreement, as referenced in our management report, that Arthrex has agreed to file an

amended complaint, including a bad faith count, in which, after it’s filed, they will

agree to stay the bad faith count until the conclusion of the coverage matter.”).

Ultimately, this Court ordered that amended pleadings were due February 16, 2023.

See id. at 24:9–10.

       For the reasons set forth more fully below, Arthrex respectfully requests that

this Court grant this Motion and allow Arthrex to amend its Original Complaint, as

previously agreed.    Although previously indicating a willingness to consent to

Arthrex’s proposed amendment, the Insurers have notified Arthrex that their position

of record on this Motion would be that they oppose.

       The parties are continuing their discussion toward an agreed-upon proposal

regarding the status of Arthrex’s common law and statutory bad faith claims pending

resolution of Arthrex’s claim for breach of contract.
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II.    ARGUMENT

       A.     Legal Standard

       Federal Rule of Civil Procedure 15 provides that, beyond the statutory

allowance for amendment as of right, and absent consent from the opposing party, a

party seeking leave to amend a pleading must obtain the court’s leave. See Fed. R.

Civ. P. 15(a)(2). This Rule states that “[t]he court should freely give leave [to amend]

when justice so requires.” Id.; see also Spanish Broad Sys. of Fla., Inc. v. Clear Channel

Commc’ns, Inc., 376 F.3d 1065, 1077 (11th Cir. 2004) (“[L]eave to amend must be

granted absent a specific, significant reason for denial.”). Courts will therefore freely

grant leave unless the non-moving party can establish “undue delay, bad faith, or

dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed undue prejudice to the opposing party by virtue of

allowance of the amendment, [or] futility of the amendment[.]” McKinley v. Kaplan,

177 F.3d 1253, 1258 (11th Cir. 1999) (quoting Foman v. Davis, 371 U.S. 178, 182

(1962)); see also Equity Lifestyle Props., Inc. v. Fla. Mowing & Landscape Serv., Inc., 556

F.3d 1232, 1241 (11th Cir. 2009).

      B.     This Court Should Grant Leave to Amend Under Rule 15’s Liberal
             Standard

      As explained, and as the parties previously agreed, Arthrex seeks leave to

amend its Original Complaint for the sole purpose of accounting for the transfer of this

case from the District of Delaware to this Court—a transfer that the Insurers

affirmatively sought. See ECF Nos. 18–21, 43–46, 59 at 5; Ex. 16 at 14:6–10.

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Arthrex’s Original Complaint did not include allegations related to statutory bad faith

under Florida law because the choice-of-law analysis in the original forum (Delaware)

is straightforward and would have clearly applied Delaware law to this dispute.

Indeed, the Original Complaint includes a cause of action alleging that the Insurers

breached their duty of good faith and fair dealing, which is Delaware’s equivalent to

bad faith. 1 See ECF No. 1 at 157–163.

          Accordingly, Arthrex does not seek to add any new claims that did not already

exist in the Original Complaint, other to include allegations that it abided by Florida’s

requirement that policyholders must exhaust administrative remedies before they may

file a bad faith lawsuit against their insurers. Allowing amendment to include the

proposed additional allegations will not prejudice the Insurers because they have been

on notice of their alleged bad faith conduct since at least April 9, 2022, when Arthrex

filed suit in Delaware.

          Nor can they plausibly argue that they have not been adequately notified of

Arthrex’s intent to bring a statutory bad faith claim under Florida law. After the

District of Delaware granted the Insurers’ motion to transfer this case to this Court,

Arthrex promptly filed the statutorily required Civil Remedy Notice against both the

Insurers on November 17, 2022, even before this case was officially transferred. See

Exs. 14–15. The Insurers therefore have been on notice of the proposed cause of action

under Florida law for at least three months. The Insurers can point to no “specific,



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    Delaware law does not contemplate a statutory action for bad faith.
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significant reason for denial” of leave to amend. Spanish Broad Sys., 376 F.3d at 1077;

see also McKinley, 177 F.3d at 1258; Equity Lifestyle, 556 F.3d at 1241. Arthrex is entitled

to amend its Original Complaint under Rule 15’s liberal amendment standard.

III.   CONCLUSION

       For the foregoing reasons, Arthrex respectfully requests that the Court grant its

Motion for Leave to Amend Complaint Pursuant to Fed. R. Civ. P. 15.

                      LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g) of the United States District Court for the

Middle District of Florida, the undersigned certifies that counsel for the Plaintiff,

Alexander H. Berman, Esq. conferred in good faith with counsel for the Defendants,

Steven J. Brodie, Aaron S. Weiss, Daniel G. Enriquez, Jennifer Wall, and Mallory

Hall, via electronic mail on February 15 and 16, 2023, about this motion. The parties

were unable to agree to resolution of all or part of this motion.

DATED: February 16, 2023                         Respectfully submitted,

                                                  s/ Alexander H. Berman
 Michael R. Esposito                              Justin F. Lavella (pro hac vice)
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Counsel for Defendant Arthrex, Inc.




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 16, 2023, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served this day on all counsel of record via transmission

of the Notice of Electronic Filing generated by CM/ECF.

                                       s/ Alexander H. Berman
                                       Alexander H. Berman




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